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RIMON, P.C.
Karineh Khachatourian (SBN 202634)
karinehk@rimonlaw.com
Nikolaus A. Woloszczuk (SBN 286633)
nikolaus.woloszcezuk@rimonlaw.com
2479 E. Bayshore Road, Suite 210

Palo Alto, California 94303
Telephone: 650.461.4433
Facsimile: 650.461.4433

Vv.

Attomeys for Petitioner,
BARRACUDA NETWORKS, INC.

#:19-mc-00146-PSG-PJW Document 4 Filed 07/16/19 Page 1of3 Page ID #:507

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

BARRACUDA NETWORKS, INC.,

Petitioner,

J2 GLOBAL, INC.,

Respondent.

 

 

Case No. 2:19-mc-00146

Optrics, Inc. v. Barracuda Networks, Inc.,
Case No. 17-cv-04977-RS Pending in the
United States District Court for the Northern
District of California

CERTIFICATE OF SERVICE —
PURSUANT TO CIV. L.R. 79-5.2.2 (b)

 

 

 

CERTIFICATE OF SERVICE.; CASE NO. 2:19-McC-00146

 
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CERTIFICATE OF SERVICE
J, Aaron Jones, declare as follows:

I am employed in Santa Clara County, State of California. I am over the age of eighteen

years and not a party to this action. My business address is Rimon, P.C., 2479 E. Bayshore Road,

Suite 210, Palo Alto, California 94303.

On July 16, 2019, I served the following documents pursuant to Civ. L.R. 79-5.2.2 (b).

D.I. 1 BARRACUDA NETWORKS, INC.’S NOTICE OF MOTION AND MOTION
TO COMPEL COMPLIANCE WITH SUBPOENA TO NON-PARTY J2 GLOBAL,

INC—PURSUANT TO CIV. L.R. 37-2.4

D. I. 1-1 — 1-21 DECLARATION OF KARINEH KHACHATOURIAN IN SUPPORT
OF BARRACUDA NETWORKS, INC.’S MOTION TO COMPEL COMPLIANCE
WITH SUBPOENA TO NON-PARTY J2 GLOBAL, INC—PURSUANT TO CIV.
L.R. 37-2.4

D.I.2 BARRACUDA NETWORKS, INC.’S APPLICATION FOR LEAVE TO FILE
UNDER SEAL

D.I. 2-1 [PROPOSED] ORDER GRANTING BARRACUDA NETWORKS, INC.’S
APPLICATION FOR LEAVE TO FILE UNDER SEAL

D.I. 2-2 BARRACUDA NETWORKS, INC.’S NOTICE OF MOTION AND
MOTION TO COMPEL COMPLIANCE WITH SUBPOENA TO NON-PARTY J2
GLOBAL, INC—PURSUANT TO CIV. L.R. 37-2.4

D.I. 3 DECLARATION OF KARINEH KHACHATOURIAN IN SUPPORT OF
BARRACUDA NETWORKS, INC.'S APPLICATION TO FILE UNDER SEAL

D.I. 3-1 DOCUMENT PROPOSED TO BE FILED UNDER SEAL: BARRACUDA
NETWORKS, INC.’S NOTICE OF MOTION AND MOTION TO COMPEL
COMPLIANCE WITH SUBPOENA TO NON-PARTY J2 GLOBAL, INC—
PURSUANT TO CIV. L.R. 37-2.4

D.I. 3-2 DOCUMENT PROPOSED TO BE FILED UNDER SEAL: EXHIBIT B TO
THE DECLARATION OF KARINEH KHACHATOURIAN IN SUPPORT OF
BARRACUDA NETWORKS, INC.’S MOTION TO COMPEL COMPLIANCE
WITH SUBPOENA TO NON-PARTY J2 GLOBAL, INC—PURSUANT TO CIV.
L.R. 37-2.4

D.I. 3-3 DOCUMENT PROPOSED TO BE FILED UNDER SEAL: EXHIBIT E TO
THE DECLARATION OF KARINEH KHACHATOURIAN IN SUPPORT OF
BARRACUDA NETWORKS, INC.’S MOTION TO COMPEL COMPLIANCE
WITH SUBPOENA TO NON-PARTY J2 GLOBAL, INC—PURSUANT TO CIV.
L.R. 37-2.4

BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
document(s) to be sent from e-mail address aaron.jones@rimonlaw.com to the persons at
the e-mail addresses listed below. I did not receive, within a reasonable time after the
transmission, any electronic message or other indication that the transmission was
unsuccessful.

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CERTIFICATE OF SERVICE.; CASE NO. 2:19-Mc-00146

 
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Herbert L. Terreri, Esq.
bert@terrerilaw.com

Grace Neibaron, Esq.
grace@neibaronlaw.com

Law Offices of Herbert L. Terreri, APC
235 Foss Creek Circle

Healdsburg, CA 95448

Attorneys for Plaintiff,
Optrics Inc.

(J22z

Aaron Jones’

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CERTIFICATE OF SERVICE.; CASE NO. 2:19-Mc-00146

 

 

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I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. Executed on July 16, 2019 at Palo Alto, California.

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